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AO 245 SOR        (Rev. 09/15) Judgment in a Criminal Case
                  Attachment (Page 1) — Statement of Reasons

DEFENDANT:              Frederickson, Daniel
CASE NUMBER:            17-CR-10195-TSH
DISTRICT:               District of Massachusetts
                                                            STATEMENT OF REASONS
       Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony and Class A misdemeanor cases.

I.     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

       A. ✔ The court adopts the presentence investigation report without change.
       B.   The court adopts the presentence investigation report with the following changes: (Use Section VIII if necessary)
                  (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report)
             1.        Chapter Two of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
                       summarize the changes, including changes to base offense level, or specific offense characteristics)




             2.        Chapter Three of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
                       summarize the changes, including changes to victim-related adjustments, role in the offense, obstruction of justice, multiple counts, or acceptance of
                       responsibility)




             3.        Chapter Four of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
                       summarize the changes, including changes to criminal history category or scores, career offender status, or criminal livelihood determinations)



                       Additional Comments or Findings: (include comments or factual findings concerning any information in the presentence report,
             4.        including information that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation, or programming decisions;
                       any other rulings on disputed portions of the presentence investigation report; identification of those portions of the report in dispute but for which a
                       court determination is unnecessary because the matter will not affect sentencing or the court will not consider it)


       C.         The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
                  Applicable Sentencing Guideline: (if more than one guideline applies, list the guideline producing the highest offense level)

II.    COURT FINDINGS ON MANDATORY MINIMUM SENTENCE (Check all that apply)

       A.         One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
                  above the applicable mandatory minimum term.
       B.         One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
                  the mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:
                       findings of fact in this case: (Specify)

                       substantial assistance (18 U.S.C. § 3553(e))
                       the statutory safety valve (18 U.S.C. § 3553(f))
       C.    ✔ No count of conviction carries a mandatory minimum sentence.

III.   COURT DETERMINATION OF GUIDELINE RANGE: (BEFORE DEPARTURES OR VARIANCES)

       Total Offense Level:              15
       Criminal History Category:           I
       Guideline Range: (after application of §5G1.1 and §5G1.2)          18                         to 24                          months
       Supervised Release Range: 1                       to 3                     years
       Fine Range: $ 4,000.00           to $ 500,000.00

       ✔ Fine waived or below the guideline range because of inability to pay.
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AO 245 SOR        (Rev. 09/15) Judgment in a Criminal Case
                  Attachment (Page 2) — Statement of Reasons

DEFENDANT:                Frederickson, Daniel
CASE NUMBER:              17-CR-10195-TSH
DISTRICT:                 District of Massachusetts
                                                          STATEMENT OF REASONS
IV.    GUIDELINE SENTENCING DETERMINATION (Check all that apply)
       A.         The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
                  does not exceed 24 months.
       B.         The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
                  exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Section VIII if necessary)      .

       C.         The court departs from the guideline range for one or more reasons provided in the Guidelines Manual.
                   (Also complete Section V)
       D. ✔ The court imposed a sentence otherwise outside the sentencing guideline system (i.e., a variance).            (Also complete Section VI)

V.     DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (If applicable)
       A. The sentence imposed departs: (Check only one)
              above the guideline range
              below the guideline range

       B. Motion for departure before the court pursuant to: (Check all that apply and specify reason(s) in sections C and D)
          1. Plea Agreement
                  binding plea agreement for departure accepted by the court
                  plea agreement for departure, which the court finds to be reasonable
                  plea agreement that states that the government will not oppose a defense departure motion
          2. Motion Not Addressed in a Plea Agreement
                  government motion for departure
                  defense motion for departure to which the government did not object
                  defense motion for departure to which the government objected
                  joint motion by both parties
          3. Other
                  Other than a plea agreement or motion by the parties for departure
       C. Reasons for departure: (Check all that apply)
      4A1.3     Criminal History Inadequacy                     5K2.1  Death                      5K2.12 Coercion and Duress
      5H1.1     Age                                             5K2.2  Physical Injury            5K2.13 Diminished Capacity
      5H1.2     Education and Vocational Skills                 5K2.3  Extreme Psychological      5K2.14 Public Welfare
                                                                       Injury
      5H1.3     Mental and Emotional Condition                  5K2.4 Abduction or Unlawful       5K2.16 Voluntary Disclosure of Offense
                                                                       Restraint
      5H1.4     Physical Condition                              5K2.5 Property Damage or          5K2.17 High-Capacity Semiautomatic Weapon
                                                                       Loss
      5H1.5     Employment Record                               5K2.6 Weapon                      5K2.18 Violent Street Gang
      5H1.6     Family Ties and Responsibilities                5K2.7 Disruption of               5K2.20 Aberrant Behavior
                                                                       Government Function
      5H1.11    Military Service                                5K2.8 Extreme Conduct             5K2.21    Dismissed and Uncharged Conduct
      5H1.11    Charitable Service/Good Works                   5K2.9 Criminal Purpose            5K2.22    Sex Offender Characteristics
      5K1.1     Substantial Assistance                          5K2.10 Victim’s Conduct           5K2.23    Discharged Terms of Imprisonment
      5K2.0     Aggravating/Mitigating                          5K2.11 Lesser Harm                5K2.24    Unauthorized Insignia
                Circumstances                                                                     5K3.1     Early Disposition Program (EDP)
      Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (see “List of
      Departure Provisions” following the Index in the Guidelines Manual.) (Please specify)




       D. State the basis for the departure.            (Use Section VIII if necessary)
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AO 245 SOR       (Rev. 09/15) Judgment in a Criminal Case
                 Attachment (Page 3) — Statement of Reasons

DEFENDANT:   Frederickson, Daniel
CASE NUMBER: 17-CR-10195-TSH
DISTRICT:    District of Massachusetts
                                                      STATEMENT OF REASONS
VI.   COURT DETERMINATION FOR A VARIANCE (If applicable)
      A. The sentence imposed is: (Check only one)
             above the guideline range
         ✔ below the guideline range
      B. Motion for a variance before the court pursuant to: (Check all that apply and specify reason(s) in sections C and D)
         1. Plea Agreement
                 binding plea agreement for a variance accepted by the court
             ✔ plea agreement for a variance, which the court finds to be reasonable
                 plea agreement that states that the government will not oppose a defense motion for a variance
         2. Motion Not Addressed in a Plea Agreement
                 government motion for a variance
                 defense motion for a variance to which the government did not object
                 defense motion for a variance to which the government objected
                 joint motion by both parties
         3. Other
                 Other than a plea agreement or motion by the parties for a variance
      C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check all that apply)
         ✔ The nature and circumstances of the offense pursuant to 18 U.S.C. § 3553(a)(1):
                 Mens Rea                            Extreme Conduct                   Dismissed/Uncharged Conduct
                 Role in the Offense                 Victim Impact
             ✔ General Aggravating or Mitigating Factors: (Specify)

             ✔  The history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1):
                    Aberrant Behavior                     Lack of Youthful Guidance
                    Age                              ✔ Mental and Emotional Condition
                    Charitable Service/Good               Military Service
                    Works
                    Community Ties                   ✔ Non-Violent Offender
                    Diminished Capacity                   Physical Condition
                    Drug or Alcohol Dependence            Pre-sentence Rehabilitation
                    Employment Record                     Remorse/Lack of Remorse
                    Family Ties and                       Other: (Specify)
                    Responsibilities
                    Issues with Criminal History: (Specify)
             ✔ To reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense
               (18 U.S.C. § 3553(a)(2)(A))
             ✔ To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))
               To protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))
               To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))
               To provide the defendant with medical care (18 U.S.C. § 3553(a)(2)(D))
               To provide the defendant with other correctional treatment in the most effective manner (18 U.S.C. § 3553(a)(2)(D))
               To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) (Specify in section D)
               To provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))
               Acceptance of Responsibility               Conduct Pre-trial/On Bond          Cooperation Without Government Motion for
                                                                                             Departure
               Early Plea Agreement                       Global Plea Agreement
               Time Served (not counted in sentence)      Waiver of Indictment               Waiver of Appeal
               Policy Disagreement with the Guidelines (Kimbrough v. U.S., 552 U.S. 85 (2007): (Specify)

             Other: (Specify)
      D. State the basis for a variance. (Use Section VIII if necessary)
          The Court finds the parties plea agreement to be reasonable.
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AO 245 SOR        (Rev. 09/15) Judgment in a Criminal Case
                  Attachment (Page 4) — Statement of Reasons

DEFENDANT:   Frederickson, Daniel
CASE NUMBER: 17-CR-10195-TSH
DISTRICT:    District of Massachusetts
                                                       STATEMENT OF REASONS
VII.    COURT DETERMINATIONS OF RESTITUTION

        A. ✔ Restitution not applicable.

        B. Total amount of restitution: $

        C. Restitution not ordered: (Check only one)

             1.        For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
                       the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).
             2.        For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered
                       because determining complex issues of fact and relating them to the cause or amount of the victims’ losses would
                       complicate or prolong the sentencing process to a degree that the need to provide restitution to any victim would be
                       outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).
             3.        For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
                       guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
                       from the fashioning of a restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
                       3663(a)(1)(B)(ii).
             4.        For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
                       3663A, restitution is not ordered because the victim(s)'(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5)).
             5.        For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
                       3663A, restitution is not ordered because the victim(s) elected to not participate in any phase of determining the
                       restitution order (18 U.S.C. § 3664(g)(1)).
             6.        Restitution is not ordered for other reasons: (Explain)

       D.         Partial restitution is ordered for these reasons: (18 U.S.C. § 3553(c))



VIII. ADDITIONAL BASIS FOR THE SENTENCE IN THIS CASE (If applicable)




Defendant’s Soc. Sec. No.:       XXX-XX-XXXX                                       Date of Imposition of Judgment:   01/26/2018


%FGFOEBOUT%BUFPG#JSUI      1989                                              /s/ Timothy S. Hillman
                                                                                   Signature of Judge

                                 Shrewsbury, MA                                    U.S. District Judge
Defendant’s Residence
                                                                                   Name and Title of Judge
Address:
                                                                                   Date:      02/02/2018
                                 Same as above
Defendant’s Mailing
Address:
